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Prob 12A (10/ 16)
VAE (S/17)


                                 UNITED STATES DISTRICT COURT
                                                         for the
                                 EASTERN DISTRICT OF VIRGINIA
U.S.A. vs. Justin A. Wright                                         Docket No. -=-1:=-=-1=6P::.. .;O=2=1-=-l_ _ _ _ _ _ __

                                                   Petition on Probation

        COMES NOW RAYMOND M. HESS, PROBATION OFFICER OF THE COURT, presenting an
official report upon the conduct and attitude of Justin A. Wright, who was placed on supervision by the
Honorable Theresa Carroll Buchanan, United States Magistrate Judge, sitting in the Court at Alexandria,
Virginia, on the 1?'h day of March, 2016, who fixed the period of supervision at one ( 1) year, and imposed the
general terms and conditions heretofore adopted by the Court and also imposed special conditions and terms as
fo11ows:

                                                        See Page 2


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

                                                      See Attachment(s)




PRAYING THAT THE COURT WILL ORDER a warrant to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.




                    ORDER OF COURT                                I declare under penalty of perjury that the foregoing
                                 /,' 9''111-                      is true and correct.
Considered and ordered this __
                             L _ _ _ _,...,..,.... day
of      ~:~                             ,      u
                                               I ii               Executed on       .5/?-sI I      't3'
and ordered file and made a part of the reffli:ds in the
above case.          Ther     Carroll Buchanan
                          ,ted States Magistrate Judge            Ra~
                                                                  Senior U.S. Probation Officer
Theresa Carron uchanan                                            (703) 366-2118
United States Magistrate Judg~
                                                                  Place Manassas. Virginia




TO CLERK'S OFFICE
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Petition on Probation
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Re: WRIGHT, Justin A.


OFFENSE: Count 1: Disorderly Conduct, in violation of32 C.F.R. 234.7(a); and Count 4: Driving Under the
Influence, in violation of32 C.F.R. 234.l 7(c)l(i).

SENTENCE: One (1) year supervised probation on both counts to run concurrent, with the following special
conditions: 1) the defendant shall serve fourteen (14) days of Home Confinement with timeouts permitted by
the probation officer; 2) the defendant shall enter and successfully complete an alcohol treatment and/or
education program at the direction of the probation officer; 3) the defendant shall continue to undergo mental
health treatment at the direction of the probation officer; 4) commencing March 17, 2016, and continuing for
one (1) year, the defendant may operate a motor vehicle only, (a) to and from work, (b) during the course of
work, if required as incident of employment, (c) to and from this court, the probation office, the alcohol
treatment program and mental health tteatment; and (d) to and from classes for school; and 5) the defendant
shall pay a $250.00 fine, $2S.00 processing fee and $10.00 special assessment, as to Count 1, to be paid
within six (6) months. The defendant shall pay a $400.00 fine, $25.00 processing fee and $10.00 special
assessment, as to Count 4, to be paid within six (6) months.

ADJUSTMENT TO SUPERVISION: Directly following the above sentencing, the defendant's supervision
was transferred to the District of Maryland. According to Adelle Awkward, United States Probation Officer
with the District of Maryland, the defendant completed his fourteen (14) days of home confinement, he
completed 20 hours of substance abuse treatment, and he has reported for all scheduled appointments. On
September 17, 2016, the defendant paid all of the court-ordered monetary penalties in full. He is currently
participating in mental health counseling with Frances James at FAJ, Inc., and is employed full-time as a
Pharmacy Technician while maintaining enrollment at Howard University.
On December 6, 2016, the defendant appeared before Your Honor on a petition which alleged that on
September 24, 2016, the defendant was charged with Driving Under the Influence of Alcohol or a Drug;
Operating a Vehicle While Impaired; and No Permit (16-CTF-1S56) in D.C. Superior Court. On that date, the
defendant was continued on supervision with a modified condition that he undergoes alcohol remote testing as
directed by the probation officer and the defendant must comply with an interlock ignition device.
On March 15, 2017, an Addendum to the Petition was submitted to the Court alleging that the defendant
tested positive for alcohol on multiple occasions.
On June 20, 2017, the defendant appeared before Your Honor for a status conference on the aforementioned
charge in D.C. Superior Court. His case was continued pending the outcome of this case. The Court added a
condition that the defendant may not drink alcohol at all, and may be subject to alcohol testing at the
discretion of the probation officer.
On July 18, 2017, the defendant appeared before Your Honor and was found in violation of his probation.
The Court ordered that the defendant remain on probation with the following modifications: 1) defendant's
supervision shall be extended for a total of three (3) years; 2) defendant shall continue to undergo
remote alcohol testing as directed by the probation officer; 3) defendant shall continue with mental health
treatment as detennined necessary by the probation officer; 4) defendant may not drive a motor vehicle for
one (1) year; and S) defendant shall serve every weekend incarcerated beginning now to the end of
December 2017, as directed by the probation officer.

The defendant completed his weekend jail time as directed, his remote alcohol testing was removed on
February 9, 2018, and he did not violate his condition of no driving.
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Petition on Probadon
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Re: WRIGHT, Justin A.

On March 28, 2018, a No Action Recommendation was submitted to the Court alleging that the defendant was
arrested on February 24, 2018, by Washington, D.C. Metropolitan Police for Unlawful Entry. The charge was
No Papered resulting in no formal charges being filed. On that same date, Your Honor approved the no action
recommendations.

VIOLATIONS: The following violation is submitted for the Court's consideration.

MANDATORY CONDfflONS:                        "THE DEFENDANT SHALL NOT COMMIT
                                             ANOTHER FEDERAL, STATE, OR LOCAL
                                             CRIME."
On March 5, 2018, a Prince George's County Police Officer was dispatched to Fountain Park Apartments on a
complaint of disorderly conduct. Upon arriving at the apartment, it was reported that the defendant was being
dismptive in the basement near the laundry room. It was reported that the defendant was cussing and
threatening to kill someone. He was also knocking on his neighbor's door. The officer then went to the
defendant's apartment to check on him. Upon opening the door, the defendant proceeded to curse and ask
why the officers were there. After a brief interview, the defendant lunged at the police officer, at which time
he was placed .in handcuffs and detained. The officer then checked the aparbnent to see if anyone else was
there and to discuss this incident with the defendant Moments later, the defendant was released from the
handcuffs and ordered to discontinue being disruptive and disorderly. Once the officers where exiting the
residence, the defendant struck one of the officers on the left side of his head causing pain. He was again
arrested and handcuffed. The defendant was charged with Disobeying a Lawful Order, Assaulting a Police
Officer and Disorderly Conduct.

The defendant appeared before Prince George's County District Court on the same date, and was released on
$2,000 bond. His next appearance before Prince George's County District Court is scheduled for trial on
June 11, 2108 (IE006S8477).

RMH/lmg
